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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF KENTUCKY
                                       LOUISVILLE DIVISION

    UNITED STATES OF AMERICA,                                   )
                                                                )
                Plaintiff,                                      ) Criminal Action No. 3:22-CR-014-CHB-3
                                                                )
    v.                                                          )
                                                                )
    MARK ANTHONY PHILLIPS,                                      )  ORDER GRANTING UNOPPOSED
                                                                )   MOTION FOR PERMISSION TO
                Defendant.                                      )                TRAVEL

                                             ***      ***       ***   ***
           Before this Court is Defendant Mark Anthony Phillips’ (“Phillips”) Unopposed Motion for

 Permission to Travel [R. 59] to the Southern District of New York for a court appearance that he is

 required to personally appear for in the United States District Court for the Southern District of New

 York. The Motion advises the Court that both the United States and Phillips’ probation officer are not

 opposed. Id. The Court having taken the Motion under consideration and being otherwise sufficiently

 advised,

           IT IS HEREBY ORDERED as follows:

           1.        Phillips’ Unopposed Motion for Permission to Travel [R. 59] is GRANTED.

           2.        Phillips is PERMITTED to travel to the Southern District of New York for a July 5,

 2022, court appearance that he is required to personally appear for in the United States District Court for

 the Southern District of New York.

           3.        Phillips SHALL provide all travel arrangements with his probation officer prior to his

 travel.

           4.        Upon return to Louisville, Kentucky, Phillips shall IMMEDIATELY contact his

 probation officer.


                     This the 1st day of July 2022.



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 cc: Counsel of Record
     United States Probation (Waddle)




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